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				HUNSUCKER v. FALLIN2017 OK 84Case Number: 116131Decided: 10/30/2017THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2017 OK 84, __ P.3d __

				

NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



JOHN HUNSUCKER, on behalf of himself and his clients; BRUCE EDGE, on behalf of himself and his clients; CHARLES SIFERS, on behalf of himself and his clients; STEPHAN FABIAN, on behalf of himself and his clients, Petitioners,v.THE HONORABLE MARY FALLIN, GOVERNOR, in her official capacity; THE HONORABLE SENATOR MIKE SCHULTZ, SENATE PRESIDENT PRO TEMPORE, in his official capacity; THE HONORABLE REPRESENTATIVE CHARLES MCCALL, SPEAKER OF THE HOUSE, in his official capacity; MICHAEL THOMPSON, in his official capacity as Commissioner of Oklahoma Department of Public Safety; DAVID PRATER, in his official capacity as District Attorney for Oklahoma County; STEVE KUNZWEILER, in his official capacity as District Attorney for Tulsa County; Respondents.


¶0 ORDER STAYING APPLICATION OF THE 2017 IMPAIREDDRIVING ELIMINATION ACT 2, S.B. No. 643
¶1 Petitioners challenge the constitutionality of the 2017 Impaired Driving Elimination Act 2, (S.B. No. 643). The effective date for all provisions of this Act is scheduled for November 1, 2017.
¶2 The Court possesses judicial discretion to grant temporary relief or relief on the merits, with an opinion to follow, in order to protect the rights of parties pending resolution of a judicial controversy when a short period of time occurs between oral argument and the time an event will occur concerning the merits of the controversy. In re Initiative Petition No. 314, 1980 OK 174, 625 P.2d 595, 596; Southwestern Bell Telephone Co. v. Oklahoma Corporation Commission, 1994 OK 142, 897 P.2d 1116, 1118-1119.
¶3 The Court assumes original jurisdiction for the purpose of issuing a temporary stay pending the litigation herein. The provisions of the 2017 Impaired Driving Elimination Act 2, (S.B. No. 643), including its effective date are hereby stayed. The 2017 Impaired Driving Elimination Act 2, (S.B. No. 643), shall not take effect on November 1, 2017, the provisions of the Act shall not be enforced during the present litigation, and they shall not be enforced until a future order or opinion of this Court so directs.
¶4 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 30th DAY OF OCTOBER, 2017.

/S/CHIEF JUSTICE

¶5 COMBS, C.J.; KAUGER, WATT, WINCHESTER, EDMONDSON, COLBERT, and REIF, JJ., concur.
¶6 GURICH, V.C.J.; and WYRICK, J., dissent.




	Citationizer© Summary of Documents Citing This Document
	
	
		Cite
		Name
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	None Found.
	
	
	Citationizer: Table of Authority
	
	
		Cite
		Name
		Level
	
	
	Oklahoma Supreme Court Cases
&nbsp;CiteNameLevel

&nbsp;1994 OK 142, 897 P.2d 1116, 65 OBJ        4181, Southwestern Bell Telephone Co. v. Oklahoma Corp. Com'nDiscussed
&nbsp;1980 OK 174, 625 P.2d 595, Initiative Petition No. 314, In reDiscussed


	
	



				
					
					
				
             
         
        
            
            
        

		
        
        
        
		
		
		
		
		

    
